           Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 1 of 9




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
TAKISHA COLEY,                                Case No.: 1:21-cv-04971-ELR
              Plaintiff,
     vs.
PRUITTHEALTH, INC.,
PRUITTHEALTH - FRANKLIN,
LLC, and PRUITTHEALTH -
AUSTELL, LLC,
              Defendants.


                COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff Takisha Coley (“Plaintiff”), by and through her attorneys, Brown,

LLC and The Orlando Firm, P.C., files this Complaint against Defendants

PruittHealth, Inc., PruittHealth - Franklin, LLC, and PruittHealth - Austell, LLC,

and states as follows:

                                 INTRODUCTION

      1.      This is action is brought pursuant to 29 U.S.C. § 216(b) by Plaintiff,

arising from Defendants’ willful violations of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201, et seq.

      2.      Defendant PruittHealth, Inc. represents that it is a “Southeast regional




                                          1
             Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 2 of 9




leader in long-term health care. Since its inception in 1969 as the Toccoa Nursing

Center, the PruittHealth community of services has grown to encompass more than

90 post-acute, skilled nursing and assisted living locations, as well as an array of

supplementary resources, including home health care, end-of-life care,

rehabilitation, veteran care and consultative pharmaceutical services. PruittHealth

also offers a variety of business-to-business services.” PruittHealth serves

communities in Georgia, North Carolina, South Carolina and Florida.1

        3.      Defendant PruittHealth – Franklin is one of Defendant PruittHealth

Inc.’s nursing and rehabilitation centers, located in Franklin, Georgia. 2

        4.      PruittHealth – Austell, one of Defendant PruittHealth Inc.’s nursing and

rehabilitation centers, is located in Austell, Georgia.3

        5.      Count I is brought under the FLSA, and seeks relief for Defendants’

failure to pay Plaintiff for all hours in excess of forty (40) in a workweek, in

violation of the FLSA’s overtime provisions. See 29 U.S.C. § 207(a)(1).

1 See Defendant’s website: https://www.pruitthealth.com/about. (Last Accessed November 24,
2020).
2 See Defendant’s website: https://www.pruitthealth.com/microsite/facilityid397. (Last Accessed

November 24, 2020).
3 See Defendant’s website: https://www.pruitthealth.com/microsite/facilityid376. (Last Accessed

November 24, 2020).




                                              2
            Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 3 of 9




                           JURISDICTION AND VENUE

       6.      This Court has subject-matter jurisdiction over Plaintiff’s FLSA claims

pursuant to 28 U.S.C. § 1331 because Plaintiff’s claims raise a federal question under

29 U.S.C. § 201, et seq.

       7.      Additionally, this Court has jurisdiction over Plaintiff’s FLSA claim

pursuant to 29 U.S.C. § 216(b), which provides that suit under the FLSA “may be

maintained against any employer . . . in any Federal or State court of competent

jurisdiction.”

       8.      The court has personal jurisdiction over Defendants PruittHealth -

Franklin, LLC, and PruittHealth - Austell, LLC, and PruittHealth, Inc. because

Defendants reside in Georgia.

       9.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim occurred

in this District.

                                      PARTIES

       10.     Plaintiff Takisha Coley is a resident of Austell, Georgia in Cobb

County.

       11.     Plaintiff worked for Defendants as an hourly-paid health aid from

approximately December 2017 through September 2019 in Defendants’ Austell,

Georgia nursing rehabilitation center.

                                          3
         Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 4 of 9




      12.   Defendant PruittHealth, Inc. has a principal business address of 1626

Jeurgens Court, Norcross, GA and registered agent Corporation Service Company

at 40 Technology Parkway South, Suite 300, Norcross, GA, 30092.

      13.   Defendant PruittHealth - Franklin, LLC has a principal business

address of 360 South River Road, Franklin, GA and registered agent Corporation

Service Company at 40 Technology Parkway South, Suite 300, Norcross, GA,

30092.

      14.   Defendant PruittHealth – Austell, LLC has a principal business address

of 1700 Mulkey Road, Austell, GA, 30106 and registered agent Corporation Service

Company at 40 Technology Parkway South, Suite 300, Norcross, GA, 30092.

                            FACTUAL ALLEGATIONS

Defendants Violated the FLSA

      15.   Defendants jointly employed Plaintiff and classified her as an hourly-

paid, non-exempt employee, and did not guarantee any minimum weekly salary.

      16.   Defendants maintained a common policy of prohibiting hourly-paid

employees from being “clocked in” for all of their overtime hours, regardless of

whether they were working during such times.

      17.   As a result, Plaintiff regularly worked “off the clock,” and was not

paid for such work.

      18.   Defendants knew that Plaintiff was working off-the-clock in excess of

                                       4
         Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 5 of 9




forty (40) hours in a workweek, but failed to compensate her for such time.

      19.    Defendants maintained a common policy of reducing hourly-paid

employees’ recorded hours in excess of forty (40) hours in a workweek by altering

their time records.

      20.    Defendants knew that Plaintiff was working these hours in excess of

forty (40) hours in a workweek, but failed to compensate her for such time.

      21.    As a result of Defendants’ unlawful policies, in many weeks, Plaintiff

performed work in excess of forty (40) hours in a workweek, and was not

compensated at time-and-a-half of her regular rates of pay.



                                   COUNT I
       Violation of the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.
                        FAILURE TO PAY OVERTIME

      22.    Plaintiff re-alleges and incorporates all previous paragraphs herein.

      28.    29 U.S.C. § 207(a)(1) provides:

             [N]o employer shall employ any of his employees who in
             any workweek is engaged in commerce or in the
             production of goods for commerce, or is employed in an
             enterprise engaged in commerce or in the production of
             goods for commerce, for a workweek longer than forty
             hours unless such employee receives compensation for his
             employment in excess of the hours above specified at a




                                         5
         Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 6 of 9




             rate not less than one and one-half times the regular rate at
             which he is employed.

      29.    29 CFR § 785.19(a) provides, in part:

             Bona fide meal periods are not worktime. Bona fide meal
             periods do not include coffee breaks or time for snacks.
             These are rest periods. The employee must be completely
             relieved from duty for the purposes of eating regular
             meals. Ordinarily 30 minutes or more is long enough for a
             bona fide meal period. A shorter period may be long
             enough under special conditions. The employee is not
             relieved if he is required to perform any duties, whether
             active or inactive, while eating. For example, an office
             employee who is required to eat at his desk or a factory
             worker who is required to be at his machine is working
             while eating.

      30.    Defendants are an enterprise whose annual gross volume of sales made

or business done exceeds $500,000.

      31.    Defendants are an enterprise that has had employees engaged in

commerce or in the production of goods for commerce, and handling, selling, or

otherwise working on goods or materials that have been moved in or produced for

commerce.

      32.    Plaintiff worked many workweeks in excess of 40 hours within the

last three years.

      33.    In many weeks, the work Plaintiff performed before and after her

scheduled shifts and/or during her meal breaks occurred in excess of forty (40)

                                          6
          Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 7 of 9




hours in a workweek, and thus should have been compensated at time-and-a-half of

her regular rate of pay, but was not.

       34.    Defendants’ failure to pay Plaintiff overtime wages was knowing and

 willful. Defendants knew that their policies resulted in Plaintiff not being paid for

 time spent working outside of her scheduled shift, and Defendants could have

 properlycompensated them for such work, but did not. See 29 U.S.C. § 255(a) (“[A]

 cause of action arising out of a willful violation [of the FLSA] may be commenced

 within three years….”).

       35.    Defendants’ failure to pay Plaintiff overtime was not done in good

 faith, or in conformity with or in reliance on any written administrative regulation,

 order, ruling, approval, or interpretation by the U.S. Department of Labor and/or

 any state department of labor, or any administrative practice or enforcement policy

 of such departments.

       36.    The FLSA, 29 U.S.C. § 216(b), provides that as a remedy for a violation

 of the Act, an employee is entitled to his or her unpaid wages (and unpaid overtime

 if applicable) plus an additional equal amount in liquidated damages (double

 damages), plus costs and reasonable attorneys’ fees.

       37.    Defendants are in possession and control of necessary documents and




                                          7
         Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 8 of 9




information from which Plaintiff would be able to precisely calculate damages.

      38.      As a result of Defendants’ uniform and common policies and practices

described above, Plaintiff was illegally deprived of overtime wages earned, in such

amounts to be determined at trial, and are entitled to recovery of such total unpaid

amounts, liquidated damages, reasonable attorneys’ fees, costs and other

compensation pursuant to 29 U.S.C § 216(b).

                                RELIEF REQUESTED

      WHEREFORE, Plaintiff Takisha Coley requests an entry of an Order the

following relief:

            a. Declaring Defendants willfully violated the FLSA and the

               Department of Labor’s attendant regulations as cited herein;

            b. Granting judgment in favor of Plaintiff and against Defendants

               and awarding Plaintiff the full amount of damages and

               liquidated damages available by law;

            c. Awarding reasonable attorneys’ fees and costs incurred by

               Plaintiff in this action as provided by statute;

            d. Awarding pre- and post-judgment interest to Plaintiff on these

               damages; and

            e. Awarding such other and further relief as this Court deems

                                            8
          Case 1:21-cv-04971-ELR Document 1 Filed 12/06/21 Page 9 of 9




             appropriate.

                               JURY DEMAND

      Plaintiff Takisha Coley, by and through her attorneys, hereby demands a

trial by jury pursuant to Rule 38 of the Federal Rules of Civil Procedure and the

court rules and statutes made and provided with respect to the above entitled

claims.


Dated: November 8, 2021                    RESPECTFULLY
                                           SUBMITTED,

                                    By: Roger Orlando
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                                       9
